                               NO. 07-11-0301-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                               OCTOBER 26, 2011
                        ______________________________


                          ALFRED LEE STONE, APPELLANT

                                      V.

                          DAVID L. GLEASON, APPELLEE


                       _________________________________

               FROM THE 47[TH] DISTRICT COURT OF POTTER COUNTY;

                 NO. 99,684-A; HONORABLE DAN L. SCHAAP, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Appellant, Alfred Lee Stone, an inmate proceeding pro se, filed this appeal from the trial court's order dismissing his suit against Appellee, the Honorable David L. Gleason, on the ground that his pleadings failed to state a cause of action that had an arguable basis in law or fact.  On August 4, 2011, Stone filed a motion to withdraw his notice of appeal asserting it had been filed by "accident or mistake."  We dismiss this appeal.
	Stone asserts he filed a notice of appeal to avoid default because he was uncertain whether the trial court clerk had received and filed his "mandatory reinstatement on motion for new trial."  By letter dated August 11, 2011, this Court notified Stone of the consequences of his request to withdraw his notice of appeal and directed him to confirm the withdrawal of the notice of appeal before September 12, 2011.  This Court also noted that failure to comply would result in dismissal of the appeal.  
	To date, Stone has not communicated with this Court regarding this appeal.  Consequently, we grant his motion to withdraw his notice of appeal, and dismiss this appeal for want of jurisdiction, want of prosecution and failure to comply with a notice from the Clerk of this Court.  Tex. R. App. P. 42.3(b) and (c). 

							Patrick A. Pirtle
							      Justice



